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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION



 IN RE:                          )
                                 )
 NATTEL, LLC,                    )
                                 )
                 Appellant,      )
                                 )
       v.                        )
                                 ) CASE NO. 1:06-cv-0254-DFH-TAB
 ATA HOLDINGS CORP., et al.,     )
 MATLINPATTERSON GLOBAL ADVISERS )
 LLC, and OFFICIAL COMMITTEE OF  )
 UNSECURED CREDITORS OF ATA      )
 HOLDINGS CORP.,                 )
                                 )
                 Appellees.      )
                                 )
 IN RE:                          )
                                 )
 ATA HOLDINGS CORP., et al.,     )   Bankruptcy Court
                                 )   No. 04-19866 (BHL)
                 Debtors.        )   (Chapter 11)


              ORDER DENYING EMERGENCY MOTION FOR STAY
                 OF PLAN CONFIRMATION PENDING APPEAL


       The court held a hearing on February 23, 2006 on appellant’s emergency

 motion for stay of plan confirmation pending appeal of the decision of the United

 States Bankruptcy Court confirming a plan of reorganization and denying a stay

 pending appeal.    Counsel for appellant, debtors, and the official creditors

 committee appeared and presented argument. The appellant’s motion for a stay

 pending appeal is hereby denied for reasons set forth in more detail in open court
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 on the record. In summary, appellant has not shown a likelihood of success as

 to its standing or the merits of its appeal, and it has not shown any likelihood of

 substantial irreparable harm if a stay is denied.         The balance of harms

 overwhelmingly favors denial of a stay, as does the public interest. Even if the

 court were inclined to grant any stay, it would be necessary to require security of

 at least $250 million in cash or its equivalent because of the serious risk that a

 stay would upset the complex set of inter-related transactions scheduled for

 closing no later than February 28, 2006, which are essential for the continued

 viability of the debtors.



       So ordered.



 Date: February 23, 2006
 Time:      6:30 p.m.                         DAVID F. HAMILTON, JUDGE
                                              United States District Court
                                              Southern District of Indiana




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